19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 1 of 13
       19-11490-jlg          Doc 1    Filed 05/07/19              Entered 05/07/19 22:40:18                     Main Document
                                                                 Pg 2 of 13
 Debtor      Ballantyne Re plc                                                     Case number (if known)
             Name




 8.    Others entitled to notice     Attach a list containing the names and addresses of:
                                     (i)   all persons or bodies authorized to administer foreign proceedings of the debtor,
                                     (ii)  all parties to litigation pending in the United States in which the debtor is a party at the time of
                                           filing of this petition, and
                                     (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.

 9.    Addresses                     Country where the debtor has the center of its               Debtor’s registered office:
                                     main interests:
                                     Ireland                                                      Fourth Floor
                                                                                                  Number          Street

                                                                                                  3, George’s Dock, I.F.S.C.
                                                                                                  P.O. Box

                                                                                                  Dublin 1             D02           D01X5X0
                                                                                                  City       State/Province/Region   ZIP/Postal Code

                                                                                                  Ireland
                                                                                                  Country

                                     Individual debtor’s habitual residence:                      Address of foreign representative(s):

                                     n/a                                                          57 Herbert Lane
                                     Number          Street                                       Number          Street


                                     P.O. Box                                                     P.O. Box

                                                                                                  Dublin 2
                                     City       State/Province/Region   ZIP/Postal Code           City       State/Province/Region   ZIP/Postal Code

                                                                                                  Ireland
                                     Country                                                      Country



 10.   Debtor’s website (URL)          N/A


 11.   Type of debtor                Check one:
                                     ☒ Non-individual (check one):
                                            ☒ Corporation. Attach a corporate ownership statement containing the information described in
                                              Fed. R. Bankr. P. 7007.1.
                                            ☐ Partnership
                                            ☐ Other. Specify:
                                     ☐ Individual




Official Form 401                    Chapter 15 Petition for Recognition of a Foreign Proceeding                                           Page 2
    19-11490-jlg              Doc 1   Filed 05/07/19                Entered 05/07/19 22:40:18                        Main Document
Debtor       _B_!!llan!) ne Re pie                                 Pg 3 of 13 Ca;c numhcr r,jkno,rnJ
             Name



12.   Why is venue proper in          Ched one:
      this district'?
                                      iZ!   Debtor· s principal place of business or principal as ets in the United States arc in this district.
                                      0     D.:btur Jue, nut ha\ c a place or business or assets in the United States. hut the fol1011 ing action or
                                            proceeding in a t't:dcral or state cuurl is pending against the debtor in this district:



                                      D     If' neither box is checked. venue is consistent \\ ith the intcn.:sts ofjustice and the convenience of
                                            thc parties. hal'ing rcgard lo the relief sought by the foreign representative. because:




13.   Signature of foreign            I rc4ucst rclicf'in accordance 1\ilh chapter 15 of'titlc 11. Unitcd States Code.
      representative(s)
                                      I am the fon.:ign rcpn.:sentatil·c of a debtor in a forcign proceeding. the debtor is eligible for the relief
                                      sought in this petition. and I am authori/.ed to file this petition.




                                                                                                    Printt:d name
                                      Execut




14.   Signature of attorney
                                      X

                                      J.:imolh) Graulic:h
                                      Printt:d name

                                      p,l\i� Polk & Ward11cll l.l.P
                                      Finn name:

                                      450 Lcxington ,'..\ \ cnuc
                                      Number       Street

                                      Nc11 York                                                 J\Y              10017
                                      Cit�                                                      State            ZIP Code

                                      (212)4504639
                                      Conlm:t phone                                             Email addn:ss

                                      26614-15                                                  l'<Y
                                      Bar number                                                State




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"
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 4 of 13

                                        Exhibit 1

           Certified Copy of Convening Order of High Court of Ireland
    Commencing Foreign Main Proceeding and Authorizing Foreign Representative
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 5 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 6 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 7 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 8 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 9 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 10 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 11 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 12 of 13
19-11490-jlg   Doc 1   Filed 05/07/19    Entered 05/07/19 22:40:18   Main Document
                                        Pg 13 of 13
